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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                     Holding a Criminal Term

                              Grand Jury Sworn in on May 3, 2018

UNITED STATES OF AMERICA                      :       CRIMINAL NO.
                                              :
                 v.                           :       GRAND JURY ORIGINAL
                                              :
JONATHAN WINSTON,                             :       VIOLATION:
                                              :       18 U.S.C. § 751(a)
                        Defendant.            :       (Escape from Custody)

                                         INDICTMENT

          The Grand Jury charges that:

                                          COUNT ONE

          On or about May 31, 2018, within the District of Columbia, JONATHAN WINSTON,

did knowingly escape from the custody of the Bureau of Prisons, an institutional facility in which

he was lawfully confined at the direction of the Attorney General by virtue of a judgement and

commitment of the District Court for the District of Maryland upon conviction for the commission

of Felon in Possession of a Firearm, in violation of Title 18, United States Code, Section 922(g)(1)

and in the Superior Court for the District of Columbia upon conviction for the commission of

Assault with Significant Bodily Injury, in violation of Title 22, District of Columbia Code, Section

404(a).

          (Escape from Custody, in violation of Title 18, United States Code, Section 751(a))

                                              A TRUE BILL:


                                              FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
